                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                             §
                                             §
Plaintiff                                    §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                             §
Versus                                       §
                                             §
REC MARINE LOGISTICS LLC, ET AL.             §   TRIAL BY JURY DEMANDED
                                             §
Defendants                                   §

                               ANSWER TO COMPLAINT

     While    at     all     times     maintaining      all    non-inconsistent

responses,   claims,       objections    and    assertions     of    the   original

Exceptions   filed    in    East     Baton    Rouge   Parish   Louisiana       State

Court,   Plaintiff,    REC,    where    not     inconsistent,       together    with

GOL, LLC; Gulf Offshore Logistics, LLC; and Offshore Transport

Services,    LLC;    respond    to    the     Claim   and   Complaint      made   by

McArthur Griffin, as follows.


                                FIRST DEFENSE

     The Complaint fails to state a claim upon which relief can

be granted against these defendants, and names two defendants,

GOL, LLC, and Gulf Offshore Logistics, LLC, who are improperly

joined and have no involvement in this matter whatever.

                                SECOND DEFENSE

     In part the plaintiffs’ claims are barred by prescription,

estoppel and/or laches, and these defendants affirmatively plead

these defenses in their behalf.
                                 THIRD DEFENSE

       And now in further answer, defendants specifically answer

each allegation of plaintiffs’ complaint as follows:

                                         1.

       The allegations of paragraphs IV, V, VI, VII, VIII, X of

the   Complaint    are   denied,    or     denied        as    vague    as   worded    and

therefore denied, pending a more definitive factual statement or

legal basis for the claim.

                                         2.

       The allegations of paragraphs I, II, and III are assertions

of improper fact and/or law, and are specifically denied.

                                         3.

       The allegations of paragraphs XI are denied for lack of

sufficient information to justify a current belief therein, or

because they are simply incorrect.

                                         4.

       The   allegations   of    paragraph         XII    of    the    Complaint      is   a

statement     of   law   and    requires      no    response          from   defendants;

however, should the Court deem answer necessary, the allegations

of    paragraph    XII   are    denied   for       insufficient          knowledge     for

informed belief.

                                 FOURTH DEFENSE

       While at all times specifically denying any and all fault,

negligence or responsibility to the plaintiff, defendants all
allege and aver that the damages sustained by the plaintiff, if

any,     were    caused    solely      by        McArther     Griffin’s      own     fault,

neglect, misconduct, inattention, or breach of duty without any

fault whatsoever on the part of defendants; but, in the event

that plaintiff may be able to establish any fault or negligence

on the part of these defendants, which is at all times denied,

defendants plead the substantial comparative negligence of the

plaintiff.

                                 FIFTH DEFENSE

       As a further defense, defendants, and each individually,

allege    and    aver     that   the     plaintiff        failed     to     mitigate      his

damages,    if    any     were   sustained,         as    required     by    law    and    is

thereby precluded from making any claims for damages in excess

of those which could have been prevented in the exercise of

ordinary    care    and     prudence        in    mitigating        one's    care    and/or

damages.

                                 SIXTH DEFENSE

       Alternatively, defendants, allege and aver as a separate

defense that any accident or injuries plaintiff, may prove, were

the result or results of the acts and/or omissions, commissions,

negligence      and/or     breach   of      duty     of     other    parties    or    third

parties, over whom defendant had no control and for which acts

and/or omissions the defendants, serially or individually, has

no   responsibility,        legal      or   otherwise,        which    contributed        in
varying    combinations           and    degrees    with   the    negligence,        fault

and/or breach of duty of the plaintiff, McArthur Griffin, to

produce the results complained of by plaintiff herein.

                                    SEVENTH DEFENSE

     While at all times denying any and all liability, should

any Defendant or combination thereof, be found liable, then the

defendant would show that such acts for which the defendant(s)

are held liable were not within the privity or knowledge of the

owners and/or the operators of the M/V Dustin Danos.                          Therefore,

Offshore Transport Services and/or REC are entitled to limit

its/their      liability      to    its/their       interest     in    the    M/V   Dustin

Danos, at the end of her voyage, plus the freight then pending,

pursuant to 46 U.S.C. § 183 et seq.

                                        EIGHT DEFENSE

     As a further defense, defendants, and each individually,

allege    and       aver   that    the     plaintiff     failed       to    mitigate      his

damages,       if   any    were    sustained,       as   required      by    law    and    is

thereby precluded from making any claims for damages in excess

of those which could have been prevented in the exercise of

ordinary       care   and    prudence       in    mitigating     one's       care   and/or

damages.

                                        NINTH DEFENSE

     As    a    further     additional,          alternative     defense,     defendants

allege and aver that if plaintiff, McArthur Griffin, was injured
or sustained his alleged damage, it was in the course of his

normal job, duties, and occupational tasks, without any fault or

neglect of these defendants, and he is therefore estopped from

making   claims     for    normal   risks    assumed    as    incidental    and

inherent in the nature of his Jones Act employment.

      WHEREFORE, Defendants, pray that this answer be deemed good

and   sufficient,    and    that    after    all    legal    delays   and   due

proceedings have been had, there be judgment herein in their

favor and against plaintiff, McArthur Griffin, dismissing all of

plaintiff’s claims, with prejudice, at plaintiff’s costs; and

for all other just and equitable relief.


                                    Submitted by:

                                    /s/ Fred E. Salley
                                    __________________________________
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